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       Attorneys for Defendants
   7
       Jose Hernandez, Silverio Coronado, Aurelio Zavaleta,
   8 Uzziel Joaquin, Jonathan Mendoza, David Mendoza,
   9
       Benjamin Joaquin and Jose Luis Estrada and Rahel Garcia

  10                    UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
  11

  12 SOCHIL MARTIN,                             Case No.: 2:20-CV-01437-OWD (ASx)
  13               Plaintiff,
                                                SPECIALLY APPEARING
  14         v.                                 DEFENDANT RAHEL GARCIA’S
  15                                            NOTICE OF MOTION AND
       LA LUZ DEL MUNNDO, an                    MOTION TO DISMISS PURSUANT
  16 unincorporated association, NAASON         TO FEDERAL RULES OF CIVIL
       JOAQUIN GARCIA, an individual, EL
  17 CONSEJO DE OBISPOS, an                     PROCEDURE 12(b)(5) AND 12(b)(2)
       unincorporated association, GILBERTO     FOR DEFICIENT SERVICE OF
  18 GARCIA GRANADOS, an individual,            PROCESS AND LACK OF
       JOSE HERNANDEZ, an individual,
  19 UZZIEL JOAQUIN, an individual,             PERSONAL JURISDICTION
       SILVERIO CORONADO, an
  20 individual, AURELIO ZAVALETA, an
                                                Date: Aug. 31, 2020
       individual, JOSE LUIS ESTRADA, an
  21   individual, JONATHAN MENDOZA,            Time: 1:30 p.m.
       an individual, ALMA ZAMORA DE            Ctrm: 5D
  22   JOAQUIN, an individual, BENJAMIN
       JOAQUIN GARCIA, an individual,
  23   RAHEL JOAQUIN GARCIA, an                 [Concurrently filed herewith: (1)
       individual, ADORAIM JOAQUIN              Memorandum of Points and Authorities;
  24   ZAMORA, an individual, DAVID             (2) Declaration of Rahel Garcia; (3)
       MENDOZA, an individual and DOES 1
  25   through 10, inclusive.                   Declaration of Oracio De La Paz; (4)
                                                Declaration of Leticia Rosales: (5)
  26               Defendants.                  Declaration of Geoffrey A. Neri; and (6)
  27                                            [Proposed] Order]
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       NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF
                         CIVIL PROCEDURE 12(b)(5) AND 12(b)(2)
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   1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

   2        PLEASE TAKE NOTICE that on August 31, 2020, at 1:30 p.m., or as soon
   3 thereafter as counsel may be heard, in Courtroom 5D of the above-entitled Court,

   4 located at 350 West 1st Street, Los Angeles, CA 90012, Defendant Rahel Garcia

   5 (“Defendant”) will and hereby does appear specially to move the Court for an order

   6 dismissing the action or, alternatively, quashing service and setting a deadline to

   7 properly effect service pursuant to Federal Rules of Civil Procedure 12(b)(5) and

   8 12(b)(2) for insufficient service of process and lack of personal jurisdiction.
   9        This Motion is made on the grounds that the summons and complaint were not
  10 sufficiently served on Defendant. Defendant is a citizen and resident of Mexico, as

  11 attested to in the declaration submitted herewith. Both Mexico and the United States

  12 are signatories to the Hague Convention on the Service Abroad of Judicial and

  13 Extrajudicial Documents in Civil and Commercial Matters (the “Hague Convention”).

  14        Thus, the Hague Convention governs the service of process on Defendant and
  15 failure to comply with its mandatory procedures voids the service, even if it is made

  16 in compliance with federal or state law and even where a defendant has actual notice

  17 of the lawsuit. Plaintiff did not serve Defendant under the Hague Convention or even

  18 attempt to do so. Nor did Plaintiff properly serve Defendant under the rules governing

  19 service in California, even if the Hague Convention were not to be applied.

  20        Furthermore, even if service were sufficient, which it was and is not, this Court
  21 would still lack personal jurisdiction over Defendant. Plaintiff cannot establish that

  22 the Defendant has the minimum contacts sufficient to comport with due process and

  23 to allow this Court to exercise general or specific jurisdiction over Defendant.

  24        The motion is and will based upon this Notice of Motion and Motion, the
  25 concurrently-filed Memorandum of Points and Authorities, Declarations of Rahel

  26 Garcia, Oracio De La Paz, Leticia Rosales, and Geoffrey A. Neri, and [Proposed]

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       NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF
                         CIVIL PROCEDURE 12(b)(5) AND 12(b)(2)
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   1 Order], as wells as the pleadings and papers filed herein, and such oral or documentary

   2 evidence that may be presented at the hearing.

   3        This motion is made following a conference of counsel pursuant to L.R. 7-3
   4 which took place on June 29, 2020. (Declaration of Geoffrey A. Neri at ¶ 2.)

   5

   6        Respectfully submitted,
   7
       DATED: July 15, 2020                      BROWN, NERI, SMITH & KHAN LLP
   8
   9                                             By:   /s/ Geoffrey A. Neri
                                                         Geoffrey A. Neri
  10
                                                 Attorneys for Defendants
  11
                                                 Jose Hernandez, Silverio Coronado,
  12                                             Aurelio Zavaleta, Uzziel Joaquin,
                                                 Jonathan Mendoza, David Mendoza,
  13                                             Benjamin Joaquin, Jose Luis Estrada
                                                 and Rahel Garcia
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       NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF
                         CIVIL PROCEDURE 12(b)(5) AND 12(b)(2)
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   1                           CERTIFICATE OF SERVICE
   2        I, Geoffrey A. Neri, declare as follows:
   3        I am over the age of eighteen years of age and am not a party to this action. I
   4 am employed in the County of Los Angeles, State of California, and my business

   5 address is 11601 Wilshire Blvd., Suite 2080, Los Angeles, CA 90025.

   6        On July 15, 2020, I electronically filed the following document—SPECIALLY
   7 APPEARING DEFENDANT RAHEL GARCIA’S NOTICE OF MOTION AND

   8 MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF CIVIL
   9 PROCEDURE 12(b)(5) AND 12(b)(2) FOR DEFICIENT SERVICE OF PROCESS

  10 AND LACK OF PERSONAL JURISDICTION—with the United States District

  11 Court for the Central District of California by using the court’s CM/ECF system and

  12 all participants in the case who are registered CM/ECF users will thereby be served

  13 on July 15, 2020.

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                                                   /s/ Geoffrey A. Neri
                                                      Geoffrey A. Neri
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                                   CERTIFICATE OF SERVICE
